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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   Troy Gamm,                                         No. CV-16-02045-PHX-GMS
10                  Plaintiff,                          ORDER
11   v.
12   USAA Federal Savings Bank, et al.,
13                  Defendants.
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16            The Court having considered the Stipulation for Dismissal as to Trans Union LLC
17   (Doc. 51), and good cause appearing,
18            IT IS ORDERED that the Stipulation is granted. Defendant Trans Union LLC is
19   dismissed from this action with prejudice, with each party to bear its own attorneys’ fees
20   and costs.
21            Dated this 21st day of December, 2016.
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                                 Honorable G. Murray Snow
24                               United States District Judge
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